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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 17-22643 COOKE/GOODMAN

                                                    )
   FEDERAL ELECTION COMMISSION,                     )
                                                    )
                  Plaintiff,                        )
                                                    )
                  v.                                )
                                                    )       MOTION FOR SUMMARY
   DAVID RIVERA,                                    )       JUDGMENT
                                                    )
                  Defendant.                        )
                                                    )

      FEDERAL ELECTION COMMISSION’S MOTION FOR SUMMARY JUDGMENT

          Plaintiff Federal Election Commission (“Commission”) respectfully moves the Court for

   Summary Judgment in its favor pursuant to Federal Rule of Civil Procedure 56. For the reasons

   set forth more fully in the accompanying Memorandum of Law, Statement of Material Facts Not

   in Genuine Dispute, the Declarations in support thereof and the Exhibits attached thereto, there is

   no genuine dispute of material fact and the Commission is entitled to summary judgment for

   Rivera’s making of contributions in the name of another in violation of 52 U.S.C. § 30122.

          WHEREFORE, the Commission respectfully requests that the Court grant its motion for

   summary judgment; declare that Rivera violated 52 U.S.C. § 30122; award a civil penalty of

   $456,000; and issue a permanent injunction to prevent the defendant from engaging in future

   similar violations.

                                         Respectfully submitted,

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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 17-22643 COOKE/GOODMAN

                                           )
   FEDERAL ELECTION COMMISSION,            )
                                           )
               Plaintiff,                  )
                                           )
                                           )     MEMORANDUM IN SUPPORT OF
                                           )     MOTION FOR SUMMARY
               v.                          )     JUDGMENT
                                           )
   DAVID RIVERA,                           )
                                           )
               Defendant.                  )
                                           )

              PLAINTIFF FEDERAL ELECTION COMMISSION’S
      MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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      I.      INTRODUCTION
           Plaintiff Federal Election Commission (“Commission” or “FEC”) hereby moves for

   summary judgment, pursuant to Federal Rule of Civil Procedure 56. The extensive record in this

   case makes clear what happened here. Sworn testimony and hundreds of pages of

   contemporaneous documents show that in 2012, former U.S. Congressman David Rivera secretly

   provided nearly $76,000 in in-kind contributions to the primary election campaign of Justin

   Lamar Sternad in Florida’s 26th Congressional District, in violation of the Federal Election

   Campaign Act’s (“FECA” or “Act”) prohibition on contributions made in the name of another.

   These in-kind contributions were cash payments Rivera made either himself or through his

   associate Ana Alliegro, to vendors providing services for the Sternad campaign. The evidence

   shows that Rivera tried to conceal his identity, but throughout execution of the scheme, Rivera

   acted as and was perceived by all involved as the principal in charge of all the relevant Sternad

   campaign activities. Rivera’s goal in orchestrating this scheme was simple: aid the Sternad

   campaign in order to boost his own election efforts by having a Democratic candidate oppose his

   adversary Joe Garcia in Garcia’s primary election. Garcia was the candidate Rivera was likely to

   — and did — ultimately face in the general election. After the scheme failed and its details

   publicly disclosed by the press, Alliegro and Sternad both pled guilty to criminal charges related

   to their involvement, and Rivera was named in those proceedings as an alleged co-conspirator.

           This Court should grant summary judgment in favor of the Commission and impose

   appropriate remedies against Rivera. FECA authorizes the award of civil penalties and assessed

   penalties for the violations here must be not less than 300% of the amount involved in the

   violation and not more than the greater of $60,000 or 1,000% of the amount involved in the

   violation. Here, the Commission respectfully requests that this Court order Rivera to pay a civil


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   penalty of 700% of the $75,927.31 in contributions he made, a rounded amount of $456,000,

   because his violations were knowing and willful, and a substantial penalty would vindicate the

   Commission’s authority and deter violations of FECA in the future. The Commission’s

   requested penalty is also appropriate because Rivera’s violations of FECA harmed the public by

   depriving the electorate of accurate information regarding the source of funding for a campaign’s

   direct mail flyers and increased the risk and appearance of corruption. The Commission further

   requests that this Court declare that Rivera knowingly and willfully violated 52 U.S.C. § 30122,

   and issue a permanent injunction to prevent him from engaging in future similar violations.

   II.    FACTUAL BACKGROUND

          David Rivera successfully ran for office as a Florida state legislator multiple times and

   for Florida’s 25th Congressional District in 2010. See FEC’s Statement of Material Facts not in

   Genuine Dispute (“SOF”) ¶ 2. He defeated Democrat Joe Garcia in the general election that year

   and thus was a United States Congressman from January 2011 through January 2013. Id. In

   2012, Rivera ran for re-election as the Republican candidate to represent Florida’s redrawn 26th

   Congressional District. Id. ¶ 3. His expected general-election opponent was Garcia, who faced

   three candidates in the Democratic primary including Justin Lamar Sternad. Id.

          During the Democratic primary, Rivera secretly provided nearly $76,000 in funds to

   vendors providing services for Sternad’s campaign in an apparent attempt to oppose and weaken

   Garcia. Rivera directed Alliegro to approach Sternad and offer to help with his campaign. Id.¶¶

   5-6. Alliegro then spent the next few months serving as an intermediary by transmitting funds

   from Rivera to vendors providing services for Sternad campaign activities. Id. ¶¶ 7-8, 12-19, 22-

   27, 38-39. Rivera coordinated and funded the production and distribution of campaign materials

   for the Sternad campaign while taking steps to conceal his involvement. Id. ¶¶ 4-39. Alliegro




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    delivered some of those cash payments to the vendors, while others were delivered by a courier

    service, and in one instance, Rivera delivered the payment himself. Id. ¶¶ 12-19, 22-28, 38-39.

           These in-kind contributions to Sternad continued from July through August 2012. Id. In

    the meantime, Sternad falsely reported the contributions as loans from his personal funds to the

    Sternad campaign committee in multiple FEC reports from May to August 2012, following

    instructions from Rivera that were conveyed to Alliegro. Id. ¶¶ 40-41. Despite the secret mail

    flyer campaign, Garcia defeated Sternad and two others in the primary election, becoming the

    Democratic nominee and facing Rivera in the 2012 general election as expected. Id. ¶ 3. Garcia

    defeated Rivera. Id.

           In 2013 and 2014, Sternad and Alliegro pleaded guilty to criminal charges relating to the

    mail flyer scheme and served terms of imprisonment. See Judgment at 1-2, United States v.

    Alliegro, No. 14-CR-20102 (S.D. Fla. Sept. 10, 2014) (Docket No. 118); Judgment at 1, United

    States v. Sternad, No. 13-CR-20108 (S.D. Fla. July 11, 2014) (Docket No. 43). After his 2013

    guilty plea, Sternad filed amended disclosure reports with the FEC attributing the funds at issue

    to “Unknown Contributors” rather than himself. SOF ¶ 41.

           In September 2013, the FEC notified Rivera that it had reason to believe he violated

    FECA. Id. ¶ 42. After an investigation, the Commission unanimously concluded that there was

    probable cause to believe that Rivera knowingly and willfully violated 52 U.S.C. § 30122 and 11

    C.F.R. § 110.4(b). Id. ¶¶ 43-44. After attempts to reach a conciliation agreement failed, the

    Commission filed this lawsuit on July 14, 2017. Id. ¶ 45.

    III.   STATUTORY BACKGROUND

           FECA requires that the authorized campaign committees of federal candidates have

    treasurers receive and spend funds, deposit contributions into designated campaign accounts at




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    depositories, and keep records of contributors. 52 U.S.C. § 30102. All contributors above a

    threshold amount must be identified in publicly filed disclosure reports. See 52 U.S.C. §

    30104(b)(3)(A) (requiring campaigns to identify each person contributing “in excess of $200” in

    an election cycle). Candidate committees can accept no contributions from individuals that

    aggregate more than a few thousand dollars per election, an inflation-adjusted amount that was

    $2500 in 2012. 52 U.S.C. § 30116(a)(1)(A), (f). Expenditures made “in cooperation,

    consultation, or concert, with” a candidate or her campaign “shall be considered to be a

    contribution to such candidate.” 52 U.S.C. § 30116(a)(7)(B)(i). Candidate campaigns are not

    permitted to accept contributions from a number of sources, including corporations, labor

    organizations, government contractors, and foreign nationals. 52 U.S.C. §§ 30118, 30119,

    30121. Disbursements by committees may be made in cash only in amounts of $100 or less. 52

    U.S.C. § 30102.

           To make a number of these provisions effective, FECA provides that “[n]o person shall

    make a contribution in the name of another person.” 52 U.S.C. § 30122 (formerly 2 U.S.C. §

    441f). Without the prohibition, individuals or campaigns could “thwart disclosure requirements

    and contribution limits” by attributing contributions to false names or straw donors. United

    States v. O’Donnell, 608 F.3d 546, 549 (9th Cir. 2010). False attributions of that type undermine

    the government’s interests in providing the electorate with “information as to where political

    campaign money comes from and how it is spent by the candidate.” Buckley v. Valeo, 424 U.S.

    1, 66-67 (1976) (per curiam). Section 30122 ensures that the “true source[s] of contributions

    [are] disclosed,” Mariani v. United States, 212 F.3d 761, 775 (3d Cir. 2000).

           The prohibition on contributions in the name of another also prevents circumvention and

    enables detection of violations FECA’s source and amount limits on contributions. O’Donnell,




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    608 F.3d at 549. The ban ensures that donors who have contributed the maximum amount to a

    candidate do not evading that limit by financing the contributions of others. FEC v. Rivera, 333

    F.R.D. 282, 286 (S.D. Fla. 2019). This provision further prevents corporations, unions,

    government contractors, and foreign nationals from evading FECA’s restrictions by contributing

    in the names of those who are permitted to contribute. See id.

           Violations of section 30122 are some of the most significant offenses under FECA.

    Reflecting the importance of the provision, Congress significantly enhanced the potential

    penalties for knowing and willful violations of the prohibition on conduit contributions in 2002.

    See Bipartisan Campaign Reform Act of 2002, Pub. L. No. 107-155, § 315, 116 Stat. 81, 108

    (2002). Civil penalties for violations of section 30122 are authorized to be five times greater

    than the penalties for other knowing and willful FECA violations. See 52 U.S.C. §

    30109(a)(6)(C).

           The type of conduct that section 30122 prohibits includes what are called “false name”

    contributions, which is defined as “[m]aking a contribution of money or anything of value and

    attributing as the source of the money or thing of value another person when in fact the

    contributor is the source.” 11 CFR 110.4(b)(2)(ii). O’Donnell, 608 F.3d at 549. An in-kind

    contribution is defined as: “[a] contribution of goods, services or property offered free or at less

    than the usual and normal charge. The term also includes payments made on behalf of, but not

    directly to, candidates and political committees (except for independent expenditures or non-

    coordinated communications).” See 11 CFR 100.52(d). Stated differently, an “in-kind”

    contribution is simply a contribution of goods, commodities, or services as opposed to a

    monetary contribution. See Webster’s Third New International Dictionary 1243 (2002). The




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    dollar value of an in-kind contribution is subject to limits and must be reported. See 52 U.S.C. §

    30104; 11 CFR 110.4(b)(2)(ii).1

        IV.        ARGUMENT

              A.     Summary Judgment Standard

              Summary judgment is warranted “if the pleadings, depositions, answers to

    interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

    genuine issue as to any material fact and the moving party is entitled to judgment as a matter of

    law.” Allen v. Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997) (quoting Fed. R. Civ. P.

    56(c)) (internal quotations omitted). For purposes of summary judgment, a dispute of material

    fact is genuine only “if the evidence is such that a reasonable jury could return a verdict for the

    nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “The mere

    existence of a scintilla of evidence in support of the plaintiff’s position will be insufficient; there

    must be evidence on which the jury could reasonably find for the plaintiff.” Id. at 252; Walker v.

    Darby, 911 F.2d 1573, 1576–1577 (11th Cir.1990). A defendant’s bare, unsupported or

    conclusory assertions cannot defeat summary judgment. Fullman v. Graddick, 739 F.2d 553,

    557 (11th Cir.1984) (“[M]ere verification of [a] party’s own conclusory allegations is not

    sufficient to oppose summary judgment . . . .”).

              B.     The Undisputed Evidence Establishes That Rivera Violated FECA by
                     Making a Contribution in the Name of Another
              There is no genuine issue of material fact regarding Rivera’s making of nearly $76,000 in

    in-kind contributions to the Sternad campaign, through payments to various vendors working on

    his behalf, in violation of § 30122. The objective record unmistakably shows that Rivera


    1
            A straw-donor or concealed-conduit contribution, when one person provides money to
    another to make a contribution without disclosing the source of money, is another example of a
    type of conduct prohibited by section 30122. 11 C.F.R. 110.4(b)(2)(i).


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    exercised direction and control over the money at issue, made the choice to dedicate the funds to

    expenditures coordinated with Sternad, and provided the cash used to pay the vendors hand-

    picked by Rivera, either himself or through Ana Alliegro. Just as telling, Rivera held himself out

    as the decision maker for the Sternad campaign, and Alliegro and the vendors sought permission

    and direction from Rivera to undertake their work. Rivera was the principal of the scheme to

    falsify the true source of the contributions to the Sternad campaign as well as the source of the

    funds, and thereby violated § 30122.

                   1.      Documentary Evidence and Corroborating Witness Testimony
                           Establishes Rivera’s Liability
           First, substantial undisputed documentary evidence and sworn testimony from the

    vendors, as well as Alliegro and Sternad’s own documents and sworn testimony prove Rivera’s

    illegal in-kind contributions to the Sternad campaign. There were a number of vendors that

    Rivera directed in this scheme that are relevant for purposes of this motion: (1) a graphic

    designer for the Sternad mailers; (2) a company called Expert Printing, used to print the Sternad

    mailers; and (3) a company called Rapid Mail used for mailing the Sternad mailers to targeted

    voters. Rivera hand-picked each of these vendors, all of which he had used in his prior

    campaigns, and paid them for their services in coordination with Alliegro and Sternad. Rivera

    used a fourth vendor who ultimately did not end up being paid, Campaign Data, to provide the

    addresses for the voters to be targeted when the Sternad mailers were sent. The detailed business

    records, contemporaneous correspondence and sworn testimony from the vendors show that

    Rivera paid the vendors a total of $75,927.31 for their services.

           To set the scheme in motion, Rivera first set up a lunch meeting with Ana Alliegro and

    directed Alliegro to reach out to Sternad to work and provide assistance to the Sternad campaign.

    SOF ¶ 6. Another person, Jenny Nillo, was at this meeting and heard Rivera and Alliegro


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    discussing the Sternad campaign. Id. Alliegro took this direction, contacted Sternad and

    immediately began working on his campaign. Id. ¶ 7. Sternad, although happy to accept the

    help, expressed worries about funding because he was only a minimum wage hotel clerk and

    could not afford to fund his campaign himself. Id. Alliegro promised that he had nothing to

    worry about, that there was someone that would pay for his qualifying fee and campaign

    expenses and even find a new job for him should his campaign not be successful. See id.

    Throughout the summer of 2012, Rivera’s hand-picked vendors provided services to the Sternad

    campaign and Rivera paid them for their work, and all of them understood that Rivera was

    controlling the project. Id. ¶¶ 9-37.

           A total of $2,600 in cash went to Yolanda Rivas, the graphic designer that designed the

    Sternad campaign flyers. Id. ¶ 12. Rivera worked on the flyers himself along with Alliegro and

    Rivas one busy weekend in July. When the job was completed, Rivera handed the money to

    Alliegro, who gave it to Rivas. Id. ¶ 14. Specifically, Alliegro testified that she “walked down

    to Congressman Rivera’s car and he handed me an envelope which I handed to [Rivas].” Id.2

    Rivas corroborated Alliegro’s testimony, including the fact that there was a missing amount that

    Alliegro returned with in cash later. See id.

             Rivera also needed data to target voters with Sternad campaign activities, so he obtained

    demographic data of Democratic voters from Hugh Cochran’s Campaign Data firm. Rivera

    emailed Cochran directly in mid-June of 2012 with the subject line “CD 26 Democrat Counts,” a

    reference to the 26th Congressional District for the Democratic primary that Sternad was running



    2
           Alliegro’s grand jury testimony is properly admissible to establish summary judgment.
    See Arceo v. City of Junction City, Kan., 182 F. Supp. 2d 1062, 1080 (D. Kan. 2002) (citing
    Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986).




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    in, and stated “here is the data I wanted to discuss with you. . . Miami-Dade County. . .

    Democrats only.” Id. ¶ 10. As directed, Cochran emailed counts of demographic data divided

    by ethnicity to Rivera; Rivera then sent the data to Alliegro and she forwarded it to Sternad. Id.

    When it came time later that summer to collect files of names and addresses of voters to send the

    Sternad mailers, Cochran emailed this information directly to Rivera as well. Id. Cochran

    repeatedly referred to the data he collected as “files for his [i.e. Rivera’s]” mailings, or files “for

    Rivera.” Id. Cochran testified that Rivera also asked him to provide this information to John

    Borrero of Rapid Mail, and it was only much later that Cochran realized the data was for the

    Sternad mailers rather than mailers properly authorized as part of Rivera’s own campaign. Id.3

            Rivera also enlisted Henry Barrios, owner of Expert Printing, to print the mailers that

    Yolanda Rivas designed. Rivera paid $20,430.21 in cash for the first mailers to be printed and

    $15,000 in cash for the second round of printed mailers. Id.¶¶ 13, 16-19.4 At Rivera’s request,

    Barrios forwarded the mailer invoices directly to him by email. Id. ¶ 16. When Barrios became

    concerned about an open invoice and when he would be paid, he texted Alliegro, “[p]lease see if

    David can pay us.” Id. ¶ 17. Alliegro responded that she “[s]ent it to David yesterday. He

    [Rivera] was looking at the invoices.” Id. Alliegro also told Barrios that he would be paid when

    “the big [guy or man] comes from Washington.” Id. As Barrios understood, this was a reference

    to Rivera, and it was Rivera’s project. Id.



    3
            Press reports published at the time highlight Cochran’s belief that this was for Rivera’s
    campaign. See, e.g., Manny Garcia & Marc Caputo, Campaign vendors say Republican
    Congressman David Rivera funded Democrat’s failed primary bid, Miami Herald (Aug. 21,
    2014, updated Sept. 8, 2014, 6:02 pm) https://www.miamiherald.com/news/politics-
    government/article1942132.html. Rivera’s general denials at the time are entirely refuted by the
    series of emails between Rivera and Cochran, as explained above.
    4
            Evidence obtained during discovery show the amounts expended to Expert Printing to be
    higher than the amounts alleged in the Commission’s Amended Complaint. (Am. Compl. ¶ 13.)


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           John Borrero of Rapid Mail mailed approximately twelve Sternad mailers on different

    dates, using the targeted voter data provided by Hugh Cochran. Id. ¶¶ 20-37. The mailers

    contained not only advocacy in favor of Sternad, but also criticism of Garcia. See id. ¶ 37. One

    mailer attacked Garcia with allegations that he had “abandoned his wife as she battled cancer.”

    See id. ¶ 32.

           Alliegro generally delivered Rivera’s cash payments for the mailers, but on one occasion

    after Alliegro’s child was apparently in a car accident, Rivera retrieved the payment and

    delivered it to Borrero’s mailbox himself. Id. ¶ 28. In total, Rivera paid more than $37,000 in

    cash to Rapid Mail for mailing of the Sternad mailers. Id. ¶ 37. Corroborating the testimony

    from the vendors, Alliegro testified before the grand jury specifically that the cash always came

    from David Rivera:

                    Q: It was always cash that was paid to Rapid Mailing?
                    A: That I handled, yes.
                    Q: Okay. Where did the cash come from [to] pay Rapid Mail?
                    A: From Congressman David Rivera.
                    Q: And where did the cash come from to pay Expert Printing?
                    A: From Congressman David Rivera.

    Id. ¶ 23. The total cash payments to the vendors totaled more than $75,000:

                       In-Kind Contribution                                 Cash Payment

     Graphic Design Work                                          $2,600
     Printing Costs, First Round to Expert Printing               $20,430.21
     Printing Costs, Second Round to Expert Printing              $15,000
     Mailer 1 (cash to Rapid Mail)                                $2,731.35
     Mailer 2 (cash to Rapid Mail)                                $2,624.35
     Mailer 3 (cash to Rapid Mail)                                $2,624.35
     Mailer 4 (cash to Rapid Mail)                                $2,624.35
     Mailer 5 (Cash to Rapid Mail)                                $2,624.35
     Mailer 6 (Cash to Rapid Mail)                                $2,624.35
     Second Round Mailing (cash to Rapid Mail)                    $22,044
     Total Cash Payments                                          $75,927.31




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    For his part, although he never met Rivera in person, Sternad testified that after his qualifying

    fees were paid, he mistakenly received along with his own paperwork a Federal Express receipt

    with the notation for the qualifying fee for David Rivera’s Congressional campaign, providing

    evidence that Rivera had been involved with Alliegro and his campaign. Id. ¶ 11. And when

    there were things that needed to be paid for in his campaign, Sternad testified that it was taken

    care of by “David,” “DR,” or “the gangster,” a nickname Alliegro regularly used for Rivera. Id.

    ¶ 40. When it came time to file his disclosure reports with the FEC, at Rivera’s direction,

    Alliegro directed Sternad to falsely report to the FEC that the funds he received for his campaign

    were a personal loan. Id. Sternad did not in fact loan his campaign this money and reported it as

    a loan only because, as he testified, “[t]hat’s what I was directed to do.” Id. On the night of the

    primary election, after finding out he lost, a frustrated Sternad questioned his role in this scheme

    and texted Alliegro that “[s]ince the object was me to beat Joe then job, etc. not happening…Am

    I getting something out of all this still.” Exh. 30, Phone Examination Report, at 12. By the time

    he was sentenced in his criminal case for his involvement in Rivera’s scheme, a remorseful

    Sternad testified that he “wish[ed] he had never heard the names of Ana Alliegro or David

    Rivera.” Exh. 42, Transcript of Sentencing, United States v. Justin Lamar Sternad, No 13-20108

    (S. D. Fla. July 10, 2014) (Docket No. 44 ) at 14:17-18.

           Consistent with the instructions from Rivera conveyed by Alliegro to attribute the

    contributions to another source, Sternad falsely reported having made loans from his personal

    funds to his campaign committee. SOF ¶ 40. In multiple FEC reports from May to August

    2012, Sternad falsely stated he had used his own personal funds to loan money to his campaign

    to pay for the tens of thousands of vendor services paid for by Rivera. Id. In sum, Rivera

    provided the cash to pay the vendors, and his conduct throughout the summer of 2012 was




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    consistent with the person in charge of decisions involving the Sternad mailers that everyone

    believed him to be. He had final decision-making authority on all aspects of that campaign

    activity. See id. ¶¶ 12-40. Alliegro’s testimony before the grand jury, her guilty plea,

    contemporaneous written communications, and testimony from all the recipients of the spending

    confirm that Rivera came up with the scheme, was the source of the cash for the vendor

    payments, and directed the decisions. See id.

            This series of transactions between Rivera and the vendors is how the contributions in

    the name of another were effectuated. Rivera’s attempt to conceal these contributions directly

    violated section 30122, which in turn supports FECA’s other provisions limiting contributions

    and requiring disclosure of who is funding campaigns and political messages. See Goland v.

    U.S., 903 F.2d 1247, 1261 (9th Cir. 1990) (explaining that the “Congressional goal furthered by

    disclosure and reporting was to keep the electorate fully informed of the sources of campaign

    funding and how the candidate spends the money” and “to gather the data necessary to detect

    violations of the contribution limits” (citing Buckley, 424 U.S. at 67-68).

           Courts analyzing violations of section 30122 in similar circumstances have enforced the

    provision. See, e.g., United States v. Smukler, 330 F. Supp.3d 1050, 1061 (E.D. Pa. 2018)

    (denying motion to dismiss and finding indictment charge proper); United States v. Smukler, No.

    CR 17-563-02, 2018 WL 3416401, at *3 (E.D. Pa. July 13, 2018) (explaining factual context of a

    violation where “defendant sent a check for $25,000 [to candidate] and instructed [candidate] to

    transfer $23,750 from her personal account to the campaign account”); Judgment, United States




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    v. Smukler, No. CR 17-563-02 (E.D. Pa. Dec. 7, 2018) (Docket No. 176) (jury verdict finding

    defendant guilty of section 30122 violation).5

                      2.     Rivera’s Own Statements Further Establish His Liability

            Just as telling as the considerable documentary evidence and sworn testimony from the

    vendors that provided services to the Sternad campaign and that of his associate Alliegro,

    Rivera’s own contemporaneous statements further establish his liability. Initially, when it was

    time to send off Sternad’s qualifying paperwork, it was Rivera who arranged to have Sternad’s

    qualifying fees paid for. In a recording Alliegro made of this conversation, Rivera told Alliegro

    that “everything’s ready to qualify him,” and Alliegro replied in that same conversation that she

    was on her way to Tallahassee to qualify “your [Rivera’s] candidate,” referring to Sternad. SOF

    ¶ 11.

                Alliegro and Rivera stayed in direct communication via text and phone throughout the

    summer of 2012 about the Sternad campaign activities, with Alliegro regularly seeking direction

    from Rivera on payment issues and the campaign’s messaging, and Rivera providing that

    direction. Id. ¶ 38. Alliegro had multiple cell phones, including one that she called her “hot”

    phone that she told Rivera to use in case Rivera could not reach her. See id. For example,

    Alliegro texted Rivera in July that she was “meeting Yoli [graphic designer Yolanda Rivas]” at


            5
              In response to the FEC’s discovery requests, Rivera produced no documents relating to
    the transactions at issue in this case, but did produce an alleged “affidavit” signed by Alliegro
    that purports to contradict the factual basis of her guilty plea in her criminal case. It is unclear if
    Rivera intends to rely on this “affidavit.” In any event, it is insufficient to create a dispute of fact
    in light of the substantial documentary evidence from herself and witnesses, and Alliegro’s own
    grand jury testimony, which the “affidavit,” does not seek to recant. It is properly disregarded.
    See, e.g., Van T. Junkins and Assocs. v. U.S. Indus., 736 F.2d 656, 657 (11th Cir.1984) (an
    affidavit can be disregarded on summary judgment “when a party has given clear answers to
    unambiguous questions which negate the existence of any genuine issue of material fact [and that
    party attempts] thereafter [to] create such an issue with an affidavit that merely contradicts,
    without explanation, previously given clear testimony”).



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    “8am [at] Expert.” Exh. 30 at 5. Later, Rivera texted back to “call me.” Id. In another instance,

    Alliegro texted Rivera that she had “saved u [Rivera] 1k this week. And much more later,” in

    Rivera’s payments to John Borrero. Exh. 35, FBI Miami Division Extraction Report, at 17.

    Later, Alliegro sought Rivera’s direction on how to respond to media inquiries about Sternad’s

    mailers using his middle name “Lamar” and allegations that Sternad was pretending to be

    African-American, asking Rivera whether any of Sternad’s mailers said “we black men.” Exh.

    30 at 6. She criticized Rivera for not having “inoculated” her against the media, and asked

    Rivera to provide a written response, which he did. Id. at 6-7. This was nearly word-for-word

    the statement Sternad later provided to the media. See id.6 And on the day that Rivera dropped

    the cash payment in Borrero’s mailbox, see SOF ¶ 28, Rivera texted Alliegro throughout the

    evening about where to find the cash he had provided her to pay Borrero, and confirming that he

    would do the drop himself. See Exh. 30 at 5-6; Exh. 35 at 6. On the night of the primary, Rivera

    texted Alliegro that he was at a local polling location, but “Lamar is not :(.” Exh. 30 at 10. When

    the primary election was over and the criminal investigation began, Sternad was fired from his

    job as a hotel clerk. Alliegro texted Rivera that “Lamar got canned call me.” Exh. 35 at 26.

    Rivera told Alliegro that he had “two funeral home jobs available” for Sternad. Exh. 30 at 15.

           Equally significant, Rivera’s response to all these facts is to now claim absolutely no

    knowledge of Sternad, no involvement in Sternad’s campaign for which he was involved



    6
            Around the same time that the media began scrutinizing the Sternad campaign and
    questioning his disclosure reports, Alliegro texted Rivera that “Joe [Garcia] got mad and called
    [Miami Herald reporter] [Marc] Caputo.” Rivera responded quoting one of Sternad’s mailers,
    “[n]obody reads that thing. All the voters will know is that Lamar will take us far!” and further
    directed Alliegro to tell Sternad to “just email the statement [to Caputo] and ask him 2 please no
    longer call him at work.” Exh. 30 at 7. See also Marc Caputo, “The suspicious campaign of
    Justin Lamar Sternad, A David Rivera ringer?”, Miami Herald (Aug. 4, 2012 11:05 PM)
    https://miamiherald.typepad.com/nakedpolitics/2012/08/the-suspicious-campaign-of-justin-
    lamar-sternad-a-david-rivera-ringer.html (quoting Sternad’s statement).


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    throughout the entire summer or 2012, or any association he had with it, and no involvement

    with Alliegro related to the Sternad campaign. See Exh. 31, David Rivera’s Interrogatory

    Responses (June 26, 2019).7 To date, Rivera’s only professed acknowledgement is that he and

    Alliegro were simply friends, and nothing more. Id. It is well established that these sorts of

    unsupported statements are insufficient to create a genuine dispute of fact. Feldman v. Cutting,

    No. 09-14133-CIV, 2009 WL 4021364, at *6 (S.D. Fla. Nov. 19, 2009) (“Such vague and

    conclusory statements are not sufficient to create a genuine issue of material fact.”) (citing Sun v.

    Girardot, 237 Fed. Appx. 415, 417 (11th Cir. 2007) (per curiam) (stating that “conclusory

    allegations without specific supporting facts have no probative value, and are legally insufficient

    to defeat summary judgment.”)); see also Solliday v. Fed. Officers, 413 F. App’x 206, 207 (11th

    Cir. 2011) (contradicted and merely “[c]onclusory, uncorroborated allegations . . . will not create

    an issue of fact for trial sufficient to defeat a well supported summary judgment motion”) (citing

    Earley v. Chamption Int’l Corp., 907 F.2d 1077, 1081 (11th Cir. 1990)). Rivera held himself out

    as the mastermind of this scheme. He participated in numerous communications, with Alliegro

    and the vendors, about the services provided on the Sternad campaign. The vendors repeatedly

    took direction from Rivera. Rivera’s response to this entire course of conduct is to claim no

    involvement whatsoever, which fails to create any genuine dispute. Indeed, it is important to

    grant summary judgment in cases such as this one, otherwise FECA could far too readily be

    abused by persons who deny that they are the true source of the contributions. Accordingly, in

    light of this considerable evidence, Rivera’s mere denial that he made contributions to the



           7
              As noted in the FEC’s Reply in Support of its Motion for Sanctions (Document No.
    141), on August 7, 2020 (one business day before the summary judgment deadline), the FEC was
    finally able to take Rivera’s deposition. As will be explained once the transcript from this
    deposition is available, none of Rivera’s statements are sufficient to create a genuine issue of fact
    to preclude granting the FEC summary judgment.


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    Sternad campaign is insufficient to create a genuine issue of material fact. Anderson, 477 U.S. at

    248; see also Buckrem v. Dunphy, No. 4:06CV429-WS/WCS, 2006 WL 8443533, at *1 (N.D.

    Fla. Dec. 20, 2006) (party “may not rely upon the ‘mere allegation or denials’ in the pleadings in

    opposing summary judgment”). Summary judgment should be awarded to the Commission. See

    United States v. Danielczyk, 788 F. Supp. 2d 472 (E.D. Va. 2011) (finding violation of section

    30122 on summary judgment where there is no genuine dispute of material fact).

    V.     THIS COURT SHOULD ORDER A CIVIL PENALTY AND INJUNCTIVE
           RELIEF

           A.      Rivera Should Pay a Significant Civil Penalty

           For 2012 FECA violations, the statute authorizes this Court to award a civil penalty

    which does not exceed the greater of $7,500 for each violation or an amount equal to any

    contribution or expenditure involved in such violation. 11 C.F.R. § 111.24(a)(1) (2012)

    (providing the amount applicable under 52 U.S.C. § 30109(a)(6)(B) as adjusted by inflation

    pursuant to statute); see FEC, Civil Monetary Penalties Inflation Adjustments, 74 Fed. Reg.

    31345 (July 1, 2009). Congress provided for enhanced civil penalties for “knowing and willful”

    violations. See 52 U.S.C. § 30109(a)(6)(C). If a civil penalty is imposed for 2012 “knowing and

    willful” violations of the prohibition on making contributions in the name of another, the civil

    penalties “shall not be less than 300% of the amount of any contribution involved in the

    violation, and shall not exceed the greater of $60,000 or 1000% of the amount of any

    contribution involved in the violation.” 11 C.F.R. § 111.24(a)(2)(ii) (2012) (providing the

    amount applicable under 52 U.S.C. § 30109(a)(6)(C) as adjusted by inflation pursuant to statute).

           Rivera knowingly and willfully made $75,927.31 in contributions in the name of another

    and therefore, if determined by the amount in violation, FECA authorizes this Court to impose a

    maximum penalty of $759, 273.10. See 52 U.S.C. § 30109(a)(6)(C); 11 C.F.R. § 111.24(a)(2)(i)


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    (2012). This Court has wide discretion to determine an appropriate civil penalty. FEC v.

    Furgatch, 869 F.2d 1256, 1258 (9th Cir. 1989); FEC v. Craig for U.S. Senate, 70 F. Supp. 3d 82,

    96 (D.D.C. 2014), aff’d, 816 F.3d 829 (D.C. Cir. 2016). In exercising its discretion, the Court

    should consider: (1) the good or bad faith of the defendant; (2) the injury to the public; (3) the

    defendant’s ability to pay; and (4) the necessity of vindicating the authority of the FEC and the

    penalty’s deterrent effect. Furgatch, 869 F.2d at 1258; FEC v. O’Donnell, 15-cv-17, 2017 WL

    1404387, at *2 (D. Del. Apr. 19, 2017) (unpublished); Craig, 70 F. Supp. 3d at 100; FEC v.

    Comm. of 100 Democrats, 844 F. Supp. 1, 7 (D.D.C. 1993). For the reasons set forth below, in

    this case these factors weigh in favor of awarding a penalty of $456,000, a rounded 700% of the

    amount at issue in Rivera’s violations of the ban on contributions in the name of another.

                   1.      Rivera’s Violations Were Knowing and Willful

           An important factor in determining an appropriate penalty is whether Rivera acted in

    good or bad faith. See Furgatch, 869 F.2d at 1258. Rivera’s knowing and willful violations

    reflect his bad faith, and they authorize this Court to assess the enhanced penalties provided for

    under FECA. See 52 U.S.C. § 30109(a)(6)(C); see also Furgatch, 869 F.2d at 1259 (considering

    a defendant’s lack of good faith as “indicative of the need for a large penalty to deter future

    wrongdoing.”). A violation of FECA is knowing and willful if the “acts were committed with

    full knowledge of all the relevant facts and a recognition that the action is prohibited by law.”

    122 Cong. Rec. 12,197, 12,199 (May 3, 1976). This does not require the Commission to prove

    that Rivera was aware of the specific statutory provisions that he violated. United States v.

    Whittemore, 944 F. Supp. 2d 1003, 1007 (D. Nev. 2013), aff’d, 776 F.3d 1074 (9th Cir. 2015);

    Danielczyk, 788 F. Supp. 2d at 491.




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           Instead, it is sufficient for the Commission to establish that Rivera “[did] not act through

    ignorance, mistake, or accident,” and that he “acted with knowledge that some part of his course

    of conduct was unlawful and with the intent to do something the law forbids.” U.S. v.

    Whittemore, 776 F.3d 1074, 1080-81 (9th Cir. 2015) (internal quotation marks omitted); see also

    Danielczyk, 788 F. Supp. 2d at 491 (finding that the Government must prove that defendants

    “intended to violate the law” but did not need to prove their “awareness of the specific law’s

    commands.”).

           The knowing and willful standard is clearly established in this case. Rivera had run for

    office five previous times, including federal office, and was well aware of the commonly

    understood requirements that contributions to a campaign be accurately disclosed to the public.

    Rivera’s elaborate scheme to conceal his identity as the source of cash payments to vendors for

    the Sternad campaign show that he was aware that his actions were unlawful. See United States

    v. Hopkins, 916 F.2d 207, 214-15 (5th Cir. 1990). See also SOF ¶¶ 4-40. And Rivera’s use of

    cash for the contributions, a manner of vendor payment impermissible by the Sternad campaign,

    shows his intention to avoid generating a paper trail and that he was acting in bad faith. See id.8

                   2.      Rivera’s Violations Injured the Public

           In determining an appropriate penalty, this Court should also consider the injury to the

    public as a result of Rivera’s violations of FECA. Furgatch, 869 F.2d at 1258. “‘[T]here is




    8
            Rivera may contend that he was unaware that his conduct was unlawful, a contention
    belied by his years of experience with campaign finance. Even assuming that Rivera could
    establish that he was unaware of the illegality of such conduct, however, that finding would
    merely lead to a different permitted calculation for a civil penalty, not a finding that he
    committed no violation. Under the penalty formula for violations not found to be knowing and
    willful, the Court has discretion to award a civil penalty not to exceed the greater of $7,500 for
    each violation (a total of $75,000 for each of the ten payments in violation) or $75,927.31, the
    amount of the contributions involved. 11 C.F.R. § 111.24(a)(1) (2012).


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    always harm to the public when FECA is violated.’” Craig, 70 F. Supp. 3d at 99 (quoting FEC v.

    Am. Fed’n of State, Cnty. and Mun. Emps. - P.E.O.P.L.E. Qualified, 88-cv-3208, 1991 WL

    241892, at *2 (D.D.C. Oct. 31, 1991). Here, Rivera’s contributions harmed the public because

    the electorate was deprived of accurate information regarding the true source of Rivera’s

    contributions to the Sternad campaign. See Buckley, 424 U.S. at 67; O’Donnell, 608 F.3d at 553-

    54. Indeed, the voting public received flyers attacking Rivera’s general-election opponent as

    having abandoned a cancer-stricken wife and other mailers while being deprived of the

    information that Rivera was the financer of those allegations. SOF ¶ 36. As the Supreme Court

    has recognized, avoiding even the appearance of corruption is “critical” to prevent erosion of the

    public’s “confidence in the system of representative Government.” Buckley, 424 U.S at 27; see

    also McCutcheon v. FEC, 572 U.S. 185, 199 (2014) (recognizing a compelling interest in

    preventing quid pro quo corruption or its appearance).

                   3.     Rivera’s Ability to Pay

           In determining the amount of the penalty, this Court should also consider Rivera’s ability

    to pay. Furgatch, 869 F.2d at 1258. Here, the Commission has requested a penalty that is less

    than the maximum authorized by FECA, 700% of the amount in violation rather than the 1,000%

    authorized under the statute for knowing and willful violations of the ban on contributions in the

    name of another. To date, Rivera has not presented any evidence demonstrating that he is unable

    to pay, nor could he in light of the net worth he has publicly sworn to. See Exh. 34 (filing with

    Florida Secretary of State showing $1.5 million net worth). Indeed, in a recent complaint filed

    against David Rivera’s company in a breach of contract action alleges that he was paid $15

    million pursuant to a $50 million contract signed in 2017 with the U.S. subsidiary of Venezuela’s

    state-run oil-company for “consulting services.” See Compl., PDV USA Inc. v. Interamerican




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    Consulting, Inc., No. 1:20-cv-3699 (S.D.N.Y. May 13, 2020). All of these facts weigh in favor

    of a finding that the Commission’s requested penalty against Rivera is appropriate here.

           B.      This Court Should Declare That Rivera Violated 52 U.S.C. §30122 and
                   Enjoin Rivera from Committing Future Violations
           The Commission also respectfully requests that the Court declare that Rivera violated 52

    U.S.C. §30122, and permanently enjoin him from violating this provision again. 52 U.S.C. §

    30109(a)(6)(B). An injunction is appropriate where, as here, there is a likelihood of future

    violations. Furgatch, 869 F.2d at 1262. Rivera’s concealment of his identity shows awareness

    that his conduct was unlawful and that there is a danger that his conduct will occur again. See

    SOF ¶¶ 4-40. He has continued to run for public office.9 And Rivera’s continued refusal to take

    responsibility for his actions indicates he is likely to commit future violations. See Furgatch,

    869 F.2d at 1262 (“[a] defendant’s persistence in claiming that (and acting as if) his conduct is

    blameless is an important factor in deciding whether future violations are sufficiently likely to

    warrant an injunction.”); see also O’Donnell, 2017 WL 1404387, at *5 (imposing a permanent

    injunction to prevent future violations); Comm. of 100 Democrats, 844 F. Supp. at 8 (same).

                                             CONCLUSION
           For the foregoing reasons, this Court should (1) grant summary judgment in favor of the

    Commission; (2) declare that Rivera violated 52 U.S.C. §30122; (3) award a penalty of $456,000;

    and (4) issue a permanent injunction.




    9
            In March 2017, Rivera filed to run as a candidate in 2018 for Florida’s 105th House
    District. (Am. Compl. ¶ 6; Ans. ¶ 6.) He made $260,000 in contributions to his own campaign,
    loaned the campaign $150,000, and received contributions from others totaling $254,900. (Exh.
    1, Fla. Div. of Elections, Contribution Query Results, 2018 Election.)


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                                         Respectfully submitted,

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                                    CERTIFICATE OF SERVICE
           I, Greg J. Mueller, counsel of record in this case, certify that on August 10, 2020, I

    electronically filed plaintiff Federal Election Commission’s Motion for Summary Judgment,

    Statement of Material Facts not in Genuine Dispute, the Declarations in support thereof and the

    Exhibits attached thereto, the Memorandum of Law and a Proposed Order with the Clerk of the

    United States District Court for the Southern District of Florida by using the Court’s CM/ECF

    system, which sent notification of such filing to the following:


    Roy J. Kahn, Esq.
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